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           ORDERED in the Southern District of Florida on August 30, 2019.




                                                               A. Jay Cristol, Judge
                                                               United States Bankruptcy Court
_____________________________________________________________________________




                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION


          IN RE:                                             CASE NO.: 18-15647-AJC
          MANUEL J. ROJAS                                    CHAPTER 13

          ______________________________________/

                     ORDER GRANTING CREDITOR, SYNOVUS BANK’S MOTION FOR
                              RELIEF FROM THE AUTOMATIC STAY

                 This case came before the Court on August 27, 2019 on Creditor's, SYNOVUS BANK’S

          (the "Creditor"), Motion for Relief from the Automatic Stay [D.E. 119] filed on August 13, 2019

          and the Creditor, by submitting this form of order having represented that the Motion was served

          on all parties required by Local Rule 4001-1, and that the form of order was attached as an
               Case 18-15647-AJC
exhibit to the Motion, the Court havingDoc  124 Filed
                                        considered      09/03/19
                                                   the Motion,      Page been
                                                               and having 2 of 2otherwise fully

advised, it is:

        ORDERED:

        1.        Creditor's Motion for Relief from the Automatic Stay is GRANTED.

        2.        The Automatic Stay imposed by 11 U.S.C. §362 is lifted as to this Creditor its

successors and/or assignees, and the Creditor may proceed with the foreclosure of its lien on the

following property:

                  Lot 10, Block 5, MONTGOMERY EAST SECTION 2, according
                  to the Plat thereof, recorded in Plat Book 75, at Page 67, in the
                  Public Records of Miami-Dade County, Florida

        Property Address: 7391 SW 115 Street, Pinecrest, Florida 33156

        3.    This Order is entered for the sole purpose of allowing Creditor, its successors and/or

assignees, to obtain an in rem judgment against the property described above. Creditor shall not

seek an in personam judgment against Debtor.

        4.        The 14 day stay of the Order Granting Relief pursuant to Bankruptcy Rule

4001(a)(3) is waived so that Creditor can pursue its in rem remedies.


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Submitted by:
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Attorney for Creditor, Robert Chisholm, shall serve a copy of this Order upon all parties of
interest and shall file a Certificate of Service in accordance with Local Rule 2002-1(F).
